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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                  §
                                          §       CRIMINAL ACTION NO. H-11-61-10
v.                                        §
                                          §       CIVIL ACTION NO. H-16-1832
MICHAEL MAURICE WILSON                    §


                       MEMORANDUM OPINION AND ORDER

       Defendant, represented by counsel, filed a motion and a supplemental motion to

vacate, set aside, or correct his sentence under section 2255. (Docket Entries No. 801, 882.)

The Government filed a motion to dismiss, arguing that defendant’s motions are foreclosed

by Supreme Court and Fifth Circuit precedent. (Docket Entry No. 887.) Defendant has not

file a response to the Government’s motion.

       Having considered the motions, the record, and the applicable law, the Court

GRANTS the motion to dismiss and DENIES defendant’s section 2255 motions for the

reasons shown below.

                                 Background and Claims

       On September 25, 2012, defendant pleaded guilty to conspiring to commit bank

robbery in violation of 18 U.S.C. § 371, committing armed bank robbery in violation of 18

U.S.C. § 2113(a) and (d), and 18 U.S.C. § 2, and aiding and abetting discharge of a firearm

during a crime of violence (“to wit: a bank robbery”) in violation of 18 U.S.C. §§ 924(c) and

2.
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       The Court sentenced him on September 24, 2013, to 308 months’ imprisonment,

followed by five years’ supervised release.1 Judgment of conviction was imposed on

September 24, 2013, and entered on October 2, 2013. Defendant’s appeal of the convictions

was dismissed as frivolous by the Fifth Circuit Court of Appeals on February 24, 2015, and

mandate issued on March 18, 2015. Defendant did not pursue a writ of certiorari in the

Supreme Court.

       Defendant filed his original section 2255 motion on June 24, 2016. On July 17, 2016,

the Court granted the parties’ agreed motion to stay the motion pending the Supreme Court’s

decision in Beckles v. United States, No. 15-8544. The Supreme Court subsequently issued

its opinion in Beckles on March 6, 2017. On October 25, 2019, defendant filed a motion to

lift the stay, which the Court granted. On January 29, 2020, defendant filed his supplemental

section 2255 motion (Docket Entry No. 882), conceding that the Supreme Court’s decision

in Beckles foreclosed his earlier argument. He further asserted challenges to his sentence

under United States v. Davis, ___U.S.____, 139 S. Ct. 2319 (June 24, 2019), and raised a




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        Defendant was originally sentenced on September 12, 2013, to 288 month’s imprisonment.
(Docket Entry No. 546.) He was identified in the PSR as a career offender within the meaning of
U.S.S.G. § 4B1.1 (Docket Entry No. 437, p. 14, sealed). On September 20, 2013, a post-sentencing
addendum to the PSR was filed, stating that defendant’s criminal history had been incorrectly shown
as category V instead of category VI. (Docket Entry No. 569, sealed.) Defendant was resentenced
on September 24, 2013, under a criminal history of category VI. The Court stated on the record at
resentencing that the addendum “reflects there was an error in the presentence report and that the
defendant, as a career offender, should have had a criminal history category of 6, as opposed to 5.”
(Docket Entry No. 700, p. 3.) Thus, the record shows that defendant was sentenced on September
24, 2013, as a career offender under U.S.S.G. § 4B1.1.

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new claim for procedural sentencing error under Federal Rule of Criminal Procedure

(“FRCrP”) 35.

       The Government argues in its motion to dismiss that defendant’s arguments are

foreclosed by Supreme Court and Fifth Circuit precedent.

                                       Legal Standards

       Generally, there are four grounds upon which a defendant may move to vacate, set

aside, or correct his sentence pursuant to section 2255: (1) the imposition of a sentence in

violation of the Constitution or the laws of the United States; (2) a lack of jurisdiction of the

district court that imposed the sentence; (3) the imposition of a sentence in excess of the

maximum authorized by law; and (4) the sentence is otherwise subject to collateral attack.

28 U.S.C. § 2255; United States v. Placente, 81 F.3d 555, 558 (5th Cir. 1996). Section 2255

is an extraordinary measure, and cannot be used for errors that are not constitutional or

jurisdictional if those errors could have been raised on direct appeal. United States v. Stumpf,

900 F.2d 842, 845 (5th Cir. 1990). If the error is not of constitutional or jurisdictional

magnitude, the movant must show the error could not have been raised on direct appeal and

would, if condoned, result in a complete miscarriage of justice. United States v. Smith, 32

F.3d 194, 196 (5th Cir. 1994).

       The pleadings of a pro se prisoner litigant are reviewed under a less stringent standard

than those drafted by an attorney, and are provided a liberal construction. Haines v. Kerner,

404 U.S. 519 (1972). Nevertheless, a pro se litigant is still required to provide sufficient



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facts to support his claims, and “mere conclusory allegations on a critical issue are

insufficient to raise a constitutional issue.” United States v. Pineda, 988 F.2d 22, 23 (5th Cir.

1993). Accordingly, “[a]bsent evidence in the record, a court cannot consider a habeas

petitioner’s bald assertion on a critical issue in his pro se petition . . . to be of probative

evidentiary value.” Ross v. Estelle, 694 F.2d 1008, 1011 (5th Cir. 1983).

                                           Analysis

       Section 2255 Motion

       In his original section 2255 motion (Docket Entry No. 801), defendant argued that the

Supreme Court’s decision in Johnson v. United States, 576 U.S. 591 (2015), rendered his

sentence under the career offender provision of the Sentencing Guidelines unconstitutional.

The Court stayed the motion pending the Supreme Court’s decision in Beckles.

       In his supplemental section 2255 motion, defendant acknowledges that the Supreme

Court’s decision in Beckles v. United States, ___U.S.____, 137 S. Ct. 886 (2017), foreclosed

the arguments he raised in his motion. (Docket Entry No. 882, p. 1.) Consequently,

defendant’s section 2255 motion (Docket Entry No. 801) is DENIED.

       Supplemental Section 2255 Motion

       In his supplemental section 2255 motion (Docket Entry No. 882), defendant

challenges his section 924(c) conviction based on the Supreme Court’s decision in United

States v. Davis, ___U.S.____, 139 S. Ct. 2319 (2019).




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       Section 924(c) makes it a crime to use or carry a firearm during and in relation to, or

to possess a firearm in furtherance of, a “crime of violence.” Section 924(c)(1)(A). A

federal felony offense is a “crime of violence” under 924(c)(3)(A) if it “has as an element

the use, attempted use, or threatened use of physical force against the person or property of

another.” A felony offense may also be a “crime of violence” under the residual clause of

section 924(c)(3)(B) if it “by its nature, involves a substantial risk that physical force against

the person or property of another may be used in the course of committing the offense.”

       In Davis, the Supreme Court held the definition of a “crime of violence” in the

residual cause of 18 U.S.C. § 924(c)(3)(B) as unconstitutionally vague. Defendant in the

instant case, however, was convicted and sentenced for a “crime of violence” under the

elements clause of section 924(c)(3)(A), not the residual clause of section 924(c)(3)(B). The

qualifying “crime of violence” for defendant’s convictions was Hobbs Act robbery, which

the Fifth Circuit recognizes is a “crime of violence” under the elements clause of section

924(c)(3)(A). See, e.g., United States v. Bowens, 907 F.3d 347, 353 (5th Cir. 2018); United

States v. Buck, 847 F.3d 267, 274–75 (5th Cir. 2017); United States v. Garcia, 735 F. App’x

837, 838 (5th Cir. 2018) (unpublished). Federal bank robbery remains a crime of violence

after Davis. See United States v. Smith, No. 18-10476, 2020 WL 2078390, at *2 (5th Cir.

Apr. 30, 2020) (affirming application of section 924(c) post-Davis because bank robbery

qualifies as a crime of violence under section 924(c)’s elements clause).




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       Because defendant’s convictions involved a “crime of violence” under the elements

clause of section 924(c)(3)(A), Davis does not apply. Defendant’s supplemental section

2255 motion warrants no relief under Davis.

       Defendant further contends that the Court committed plain error under FRCrP 35(a)

by correcting his sentence 12 days after initially imposing it, after discovering that the PSR

had reported an erroneous guidelines range. Defendant’s argument is effectively foreclosed

by Fifth Circuit precedent recognizing that Rule 35 allows a court to correct a sentence

(within a 14-day window) when it mistakenly uses the wrong Guidelines range. See United

States v. Olarte-Rojas, 820 F.3d 798, 803–06 (5th Cir. 2016) (affirming sentence correction

under Rule 35 when a district court mistakenly used the wrong number in a Guidelines

provision). Defendant’s supplemental motion warrants no relief under FRCrP 35.

                                        Conclusion

       Respondent’s motion to dismiss (Docket Entry No. 887) is GRANTED and

defendant’s section 2255 motions (Docket Entries No. 801, 882) are DENIED. A certificate

of appealability is DENIED. The ancillary civil case, C.A. No. H-16-1832 (S.D. Tex.), is

ORDERED ADMINISTRATIVELY CLOSED.

       Signed at Houston, Texas, on November 25, 2020.




                                                        Gray H. Miller
                                              Senior United States District Judge



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